The petition by the plaintiffs John Girolametti, Cindy Girolametti, Forty-Three South Street, LLC, and Party Depot, Inc., for certification to appeal from the Appellate Court, 173 Conn. App. 630, 164 A.3d 731 (2017), is granted, limited to the following issue:"Did the Appellate Court properly reverse the trial court's denial of summary judgment based on the doctrine of res judicata when it determined privity existed between the defendant subcontractors and the general contractor after the general contractor had arbitrated issues relating to the construction project with the project owner?"MULLINS, J., did not participate in the consideration of or decision on this petition.This order supersedes the previously issued order on the petition for certification to appeal from the Appellate Court, 173 Conn. App. 630, 164 A.3d 731 (2017), published in the Connecticut Law Journal of December 5, 2017.